                                                                      Case 3:07-cv-05944-JST Document 2383 Filed 02/12/14 Page 1 of 3



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R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8                                  UNITED STATES DISTRICT COURT
                                                                9                              NORTHERN DISTRICT OF CALIFORNIA
                                                               10                                        SAN FRANCISCO DIVISION
                                                               11
                              A TTORNEYS A T L AW




                                                               12   IN RE: CATHODE RAY TUBE (CRT)                          Mater Case No.: 3:07-cv-05944-SC
                                               L OS A NGELES




                                                                    ANTITRUST LITIGATION                                   MDL No. 1917
                                                               13                                                          Individual Case Nos. 3:11-cv-05513-SC;
                                                                                                                           3:11-cv-06396-SC
                                                               14
                                                                                                                           [PROPOSED] ORDER GRANTING
                                                               15   This document relates to:                              PLAINTIFFS BEST BUY, TECH DATA,
                                                                                                                           AND TARGET’S ADMINISTRATIVE
                                                               16   Best Buy Co., Inc., et al. v. Hitachi, Ltd., et al.,   MOTION TO SEAL PURSUANT TO
                                                                    No. 11-cv-05513-SC                                     CIVIL LOCAL RULES 7-11 AND 79-5
                                                               17
                                                                    Target Corp. v. Chunghwa, et al.,                      Before the Honorable Samuel Conti
                                                               18   No. 11-cv-05514-SC

                                                               19   Tech Data v. Hitachi, Ltd., et al.
                                                                    No. 13-cv-00157-SC
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                                                                                                                                         [PROPOSED] ORDER GRANTING
                                                                    60736218.1                                                            PLAINTIFFS’ ADMINISTRATIVE
                                                                                                                                           MOTION TO FILE UNDER SEAL
                                                                      Case 3:07-cv-05944-JST Document 2383 Filed 02/12/14 Page 2 of 3



                                                                1                                         [PROPOSED] ORDER
                                                                2            This matter comes before the Court on Plaintiffs Best Buy Co., Inc., Best Buy Purchasing,
                                                                3   LLC, Best Buy Enterprise Services, Inc., Best Buy Stores, L.P., Bestbuy.com, LLC, and
                                                                4   Magnolia Hi-Fi, LLC, Plaintiff Target Corp., and Plaintiffs Tech Data Corporation and Tech Data
                                                                5   Product Management, Inc. (collectively, “Plaintiffs”) January 17, 2014 Administrative Motion to
                                                                6   File Documents Under Seal Pursuant to Civil Local Rules 7-11 and 79-5 (“Motion to Seal”).
                                                                7   Having considered the Motion to Seal, the Declaration of Vincent S. Loh in support thereof, and
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




                                                                8   any additional declarations subsequently filed in support, and good cause appearing therefore:
                                                                9            The Court hereby GRANTS the Motion to Seal and orders that the following are properly
                                                               10   sealable and shall be sealed:
                                                               11
                              A TTORNEYS A T L AW




                                                               12                          Highlighted portions of Plaintiffs’ Best Buy,
                                               L OS A NGELES




                                                               13                          Target, and Tech Data’s Consolidated Opposition
                                                               14                          to Defendant Beijing Matsushita Color CRT Co.,
                                                               15                          Ltd.’s Motion to Dismiss Certain Direct Action
                                                               16                          Purchaser Complaints (“Consolidated Opposition”),
                                                               17                          found on pages 2, 4-10, 15, and 16 of the
                                                               18                          Consolidated Opposition.
                                                               19                          Exhibit A to the Declaration of Vincent S. Loh in
                                                               20                          Support of Plaintiffs Best Buy, Target, and Tech
                                                               21                          Data’s Consolidated Opposition to Defendant
                                                               22                          Beijing Matsushita Color CRT Co., Ltd.’s Motion
                                                               23                          to Dismiss Certain Direct Action Purchaser
                                                               24                          Complaints (“Loh Declaration”).
                                                               25                          Exhibit B to the Loh Declaration
                                                               26                          Exhibit D to the Loh Declaration
                                                               27                          Exhibit E to the Loh Declaration
                                                               28
                                                                                                                                           [PROPOSED] ORDER GRANTING
                                                                    60736218.1                                     -1-                      PLAINTIFFS’ ADMINISTRATIVE
                                                                                                                                             MOTION TO FILE UNDER SEAL
                                                                      Case 3:07-cv-05944-JST Document 2383 Filed 02/12/14 Page 3 of 3



                                                                1
                                                                                       Exhibit F to the Loh Declaration
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                                                                                       Exhibit G to the Loh Declaration
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                                                                                       Exhibit H to the Loh Declaration
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                                                                                       Exhibit I to the Loh Declaration
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                                                                                       Exhibit J to the Loh Declaration
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                                                                                       Exhibit K to the Loh Declaration
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                                                                                       Exhibit L to the Loh Declaration
R OBINS , K APLAN , M ILLER & C IRESI L.L.P.




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                                                                                       Exhibit M to the Loh Declaration
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                                                                                       Exhibit N to the Loh Declaration
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                              A TTORNEYS A T L AW




                                                                                       Exhibit P to the Loh Declaration
                                                               12
                                               L OS A NGELES




                                                                                       Exhibit Q to the Loh Declaration
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                                                                                       Exhibit R to the Loh Declaration
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                                                                                       Exhibit S to the Loh Declaration
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                                                                                       Exhibit T to the Loh Declaration
                                                               16
                                                                                       Exhibit U to the Loh Declaration
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                                                               18                      Exhibit V to the Loh Declaration

                                                               19                      Exhibit W to the Loh Declaration

                                                               20                      Exhibit X to the Loh Declaration

                                                               21                      Exhibit Y to the Loh Declaration

                                                               22                      Exhibit Z to the Loh Declaration

                                                               23                      Exhibit BB to the Loh Declaration

                                                               24                      Exhibit CC to the Loh Declaration

                                                               25            IT IS SO ORDERED.

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                                                                             2/12/2014
                                                                    DATED: ________________________              _______________________________________
                                                               27                                                HONORABLE SAMUEL CONTI
                                                                                                                 United States District Court Judge
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                                                                                                                                [PROPOSED] ORDER GRANTING
                                                                    60736218.1                                 -2-               PLAINTIFFS’ ADMINISTRATIVE
                                                                                                                                  MOTION TO FILE UNDER SEAL
